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                  Exhibit D
                                                    Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 2 of 26

                                                                     2020-56610 / Court: 011
CertifiedDocumentNumber:92177122-Page1of4
CertifiedDocumentNumber:92177122-Page2of4   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 3 of 26
CertifiedDocumentNumber:92177122-Page3of4   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 4 of 26
CertifiedDocumentNumber:92177122-Page4of4   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 5 of 26
               Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 6 of 26




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 17, 2020


     Certified Document Number:        92177122 Total Pages: 4




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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CertifiedDocumentNumber:92177123-Page3of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 9 of 26
CertifiedDocumentNumber:92177123-Page4of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 10 of 26
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CertifiedDocumentNumber:92177123-Page6of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 12 of 26
CertifiedDocumentNumber:92177123-Page7of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 13 of 26
CertifiedDocumentNumber:92177123-Page8of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 14 of 26
CertifiedDocumentNumber:92177123-Page9of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 15 of 26
CertifiedDocumentNumber:92177123-Page10of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 16 of 26
CertifiedDocumentNumber:92177123-Page11of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 17 of 26
CertifiedDocumentNumber:92177123-Page12of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 18 of 26
CertifiedDocumentNumber:92177123-Page13of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 19 of 26
CertifiedDocumentNumber:92177123-Page14of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 20 of 26
CertifiedDocumentNumber:92177123-Page15of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 21 of 26
CertifiedDocumentNumber:92177123-Page16of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 22 of 26
CertifiedDocumentNumber:92177123-Page17of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 23 of 26
CertifiedDocumentNumber:92177123-Page18of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 24 of 26
CertifiedDocumentNumber:92177123-Page19of19   Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 25 of 26
              Case 4:20-cv-03979 Document 1-4 Filed on 11/23/20 in TXSD Page 26 of 26




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 17, 2020


     Certified Document Number:        92177123 Total Pages: 19




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     HARRIS COUNTY, TEXAS




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